Case 3:08-cv-00441-TLM Document 177-3 Filed 07/22/10 Page 1of3

EXHIBIT 3
Case 3:08-cv-00441-TLM Document 177-3 Filed 07/22/10 Page 2 of 3
Message Page 1 of 1

Lu, Audrey

 

From: Fetner, Howard [hfetner@daypitney.com]

Sent: Wednesday, April 15, 2009 3:13 PM

To: Bae, Jean

Ce: Springer, Felix J.; igrudberg@jacobslaw.com,; Weiner, Robert Kratenstein, Andrew
Subject: RE: Search Term List

Jean,

Many of your requests for production do not lend themselves to the use of search terms. To the extent they do,
we propose the following search terms:

Dongguk

Korea

Shin

Ahn

Myoung Lee

Youngkyo Oh

Guillaume Apollinaire: Catalyst for Primitivism, for Picabia and Duchamp

Howie

——Original Message----~

From: Bae, Jean [mailto:JBae@mwe.com]

Sent: Wednesday, Apri] 15, 2009 11:51 AM

To: Fetner, Howard

Ce: Springer, Felix J.; igrudberg@jacobslaw.com; Weiner, Robert; Kratenstein, Andrew
Subject: Search Term List

Howie,

Please find the attached proposed e-mail search term list by Dongguk. We look forward to receiving your
search term list soon.

Jean

 

IRS Circular 230 Disclosure: To comply with requirements imposed by the IRS, we inform you that any
U.S. federal tax advice contained herein (including any attachments), unless specifically stated otherwise,
is not intended or written to be used, and cannot be used, for the purposes of (i) avoiding penalties under
the Internal Revenue Code or (ti) promoting, marketing or recommending to another party any transaction
or matter herein.

 

This message is a PRIVILEGED AND CONFIDENTIAL communication, This message and all attachments
are a private communication sent by a law firm and may be confidential or protected by privilege. if you are
not the intended recipient, you are hereby notified that any disclosure, copying, distribution or use of the
information contained in or attached to this message is strictly prohibited. Please notify the sender of the
delivery error by replying to this message, and then delete it from your system. Thank you.

DTA TIARAS RTA ATR TAIT AAA AI IAN AAAI EIA NAAN IATA INIA AVI IAAI ANAM AAAI IAAI ANIA TIA DANII

Please visit http:/Avww.mwe.com/ for more information about our Firm.

6/16/2010
Case 3:08-cv-00441-TLM Document 177-3 Filed 07/22/10 Page 3 of 3

Weiner, Robert

From: Kratenstein, Andrew

Sent: Friday, April 17, 2009 1:15 PM

To: Howard Fetner (hfetner@daypitney.com)

Ce: Weiner, Robert; Bae, Jean; fispringer@daypitney.com; igrudberg@jacobslaw.com
Subject: ESI Search Terms

Howie,

We are reviewing your proposed search term list for Yale's ESI and assume you are doing the same for the search term
lists that we proposed for Dongguk's ESI. When do you think you will be in position to exchange proposed revisions to ~
each other's lists?

We have also been thinking more about logistics. It seems to us that, in order to make sure that both side's ESI searches
are sufficient, it may be helpful to review each other's hard copy documents because the hard copy documents may lead
us to alter our respective search terms. However, we also don't want to delay ES! searches and productions.

So we think the most sensible approach is to: (i) agree on our respective initial search term lists; (ii) run the search terms
and, if there are too many false positives for particular terms, negotiate reasonable modifications that result in fewer false
positives; (ili} review and produce the responsive, non-privileged ESI; and (iv) reserve the right to make

reasonable additions or amendments to the opposing party's search terms based on subsequently discovered
liformation, the opposing party would run the supplemental search terms and then makes a supplemental ESI production.

What do you think?

Andrew

Andrew B. Kratenstein
McDermott Will & Emery LLP
340 Madison Avenue

New York, NY 10173-1922
Phone: (212) 547-5695

Fax: (212) 547-5444
